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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 19-20674-CR-GAYLES (s)(s)(s)(s)(s)


  UNITED STATES OF AMERICA

  vs.

  BORIS ARENCIBIA,

               Defendant.

  ______________________________/


             GOVERNMENT’S RESPONSE TO DEFENDANT ARENCIBIA’S
                  MOTION TO RE-OPEN DETENTION HEARING

        Defendant Boris Arencibia has filed a motion to re-open the hearing which

  resulted in Magistrate Judge Louis issuing an order for pre-trial detention. The

  position of the United States is that the defendant has not offered anything sufficient

  to change the results of the hearing. Moreover, a recent development strengthens

  the reasons for detaining him.

        Part of the Government’s basis for showing he is a risk of flight was his

  involvement in a music festival conducted in Cuba in 2023. The defendant now

  alleges that his only involvement in the music festival was to allow two performing

  artists under contract to him to perform there. He claims that the festival was

  actually organized by a Spanish corporation named “Blank Canvas,” owned and run

  by Santiago Agudelo Quiros (“Agudelo”). He has provided an affidavit by Agudelo

  to that effect. He further asserts that the technical organization of the festival and its
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  marketing was done by a Cuban company, Soluciones Integrales QBA

  (“Soluciones”). The owner of that corporation stated that it was hired for that job

  by Black (sic) Canvas Hospitality. Soluciones was also contracted to hire additional

  local and international performers. An affidavit attached to the defendant’s motion

  from Hector Diaz Yanez (“Yanez”) states that he is the president of Soluciones and

  that he contacted the defendant to obtain his agreement for three of the artists he

  represented to participate. He asserts that the defendant had nothing to do with

  organizing the festival, nor was he paid any money by Soluciones.

        The affidavits appended to the defendant’s own motion raise serious doubts

  about the validity of these claims. The affidavit of Agudelo states that Blank Canvas

  was formed in Spain on August 4, 2023. The concert itself began on August 17,

  2023. Social media videos portray the festival as a major event, with huge crowds

  of thousands of people, a stage built out over the area, stage lighting, and a massive

  sound system. It defies imagination that a corporation with a single majority

  shareholder could contract for performing artists, have the stage built and the

  lighting and sound system set up with trained operating crews, publicity generated

  to arouse sales, thousands of tickets sold, hotel rooms made available through

  package deals, and a local Cuban company sub-contracted to obtain certain

  performers under contract to the defendant, as well as other local and international

  performers – in a time span of two weeks, and all in a poverty-stricken country under


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  major United States economic and trade restrictions.

        It also would be a very unusual situation for someone who is a contracted

  manager for performing artists to allow them to travel and give performances in a

  foreign country – without receiving compensation. The fact that performers under

  contract to the defendant appeared and performed at this massive show demonstrates

  involvement by the defendant.

        Additional facts give reason to doubt the assertions about how this festival

  was organized. Blank Canvas, as far as can be determined from the United States,

  has only one employee. It has no webpage, and is not on any social media such as

  Instagram, Tik-Tok, X (Twitter) or elsewhere. It would be a strange and notable

  accomplishment for a company having no internet or social media presence to

  successfully organize a music festival attended by thousands of people for three

  days. Similarly, Soluciones, which supposedly handled the promotion for the

  festival, has no internet presence or digital footprint.

  Another reason why the re-hearing should not change this court’s decision is that the

  defendant’s evidence, with its deficiencies as described above, only goes to one part

  of the basis for the detention order. The uncontradicted testimony of Homeland

  Security Investigations Special Agent Andrew Escobedo showed that the defendant

  was able to leave the United States and to return, without leaving any record of his

  international travel in any official U.S. Government data bases.


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         Evidence at the hearing also showed that he is a permanent resident of

  Mexico. Special Agent Escobedo testified that the defendant’s unreported trip to

  Mexico was not authorized, and jeopardized his legal status in the United States as

  a Cuban refugee. If he was willing to take such a chance of jeopardizing his status

  for no known reason, he would certainly be willing to do it to avoid a prison

  sentence. The fact that he is a permanent resident of Mexico means he would not

  even need to relocate to Cuba if he decided to flee the United States.

        Lastly, a recent development makes it clear that this defendant cannot be

  trusted to be released on bond. On March 8, 2024, FDC officers confiscated a

  cellphone from him. It was concealed under the mattress of the bunk he was sleeping

  in. A copy of a Bureau of Prisons report of the seizure is attached. Possession of a

  cellphone by a prison inmate is a criminal offense, in violation of 18 U.S.C. §1791.

        Case law illustrates the potentially serious danger such possession entails:

  “The risks presented when inmates possess cell phones and cell phone chargers are

  patent. For example, … ‘a cellphone is something that is a threat to the security of

  any institution … someone with a cellphone could notify someone on the outside

  when they’re travelling … they could intimidate witnesses . . . .’” United States v.

  Blake, 288 Fed.Appx. 791, 794-5 (3rd Cir. 2008), non-published. The Blake opinion

  describes publicly reported instances of inmates using cellphones to “[run] a drug

  ring from prison,” and “to run gangs operating outside of prison, to put hits out on


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  people, to organize drug smuggling operations.” Blake concludes “That cellphones

  can, and have been, used for various dangerous and unlawful purposes in the prison

  context is, thus, quite clear” id.

         A defendant who cannot be trusted to obey the law even when being detained

  in jail surely cannot be trusted to obey the law if released, with manifest

  opportunities available to him to permanently evade justice. The court’s initial

  determination to detain the defendant should remain in place.

                                           Respectfully submitted,

                                           MARKENZY LAPOINTE
                                           UNITED STATES ATTORNEY


                                       By: /s Frank H. Tamen
                                           FRANK H. TAMEN
                                           Assistant United States Attorney
                                           Florida Bar No. 0261289
                                           99 NE 4th Street, Ste. 700
                                           Miami, Florida 33132
                                           Tel: (305) 961-9022
                                           Fax: (305) 536-7213
                                           Frank.Tamen@usdoj.gov


                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 25, 2024, I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF.


                                       By: /s/ Frank H. Tamen
                                           Frank H. Tamen
                                           Assistant United States Attorney
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             BP-A0288             INCIDENT REPORT
             Dept. of Justice/ Federal Bureau of Prisons
                                      Part I   -   Incident Report
1.   Institution:      MIAMI FDC                                   Incident Report Number: 3905789
2. Inmate's Name                          3. Register Number       4. Date of Incident
     ARENCIBIA, BORIS                       60626-004                      03-08-2024
                                                                                                 I 5.0615Time
                                                                                                           hrs
6. Place of Incident                      7. Assignment            8. Unit
     DELTA-WEST CELL D07-018                   SHU UNA                     4DETC M
9.   Incident                                                      10. Prohibited Act Code(s)
     108 -- POSSESSING A HAZARDOUS TOOL.                                     108




11. Description Of Incident
    (Date: 03-08-2024   Time:          0615 hrs     staff became aware of incident)

      On March 8, 2024, at approximately 6:15 A.M. I conducted a cell search in Delta West cell D07-018
      where inmates Arancibia, Boris Reg. No. 60626-004 and inmate Gonzalez, Oswaldo Reg. No. 07764-
      506 were assigned too; While conducting the cell search, I discovered a black Nokia flip phone inside
      of the foam bottom bunk mattress. Upon Further Inspection of the phone, it was discovered it was a
      Trac phone wireless Nokia Flip Phone model number N139DL.




12. Typed Name/Signature of Reporting Employee                                I 13. Date  And Time
                                                                                    03-08-20241200 hrs
      J Durant
14. Incident Report Delivered to Above Inmate By                 15. Date Report        16. Time Report
    (Type Name/Signature)                                            Delivered              Delivered




       The Government Paperwork Elimination Act (GPEA) of 1998 authorized Federal Agencies the use of
       electronic forms, electronic filing, and electronic signatures to conduct office business.

                                  Prescribed by P5270                                   Replaces BP-S288.052
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    BP-A0971                                  CHAIN OF CUSTODY LOG CDFRM
   AUG 11        ,
   U.S. DEPARTMENT OF JUSTICE                                                      FEDERAL BUREAU OF PRISONS

   ECN # MIM-24-0072
                                         (Enclose with/attach to evidence)
   ITEM # MIM-24-00072
   CASE ID NUMBER:__________                                 SUSPECT (If known) ARENCIBIA,          BORIS #60626-004
   DESCRIPTION OF ITEM: Tracfone wireless Nokia flip phone.


   DATE/TIME ITEM FOUND:  OJ/OB/ 0      2 24 6
                                      :lS A.M.
                         ---------------------------------------
   LOCATION: DELTA-WEST HOUSING UNIT Cell D07-01B
                                                              -ry--7=
   SIGNATURE OF PERSON RECOVERING EVIDENCE: _ _:61,-..'""'--==~•-z::::::=_
                                                               _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
              , _
   PRINTED NAME:     Durant
                 J._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   EVIDENCE PLACED IN OVERNIGHT DROP BOX:
    DROP-BOX BY: (printed name) _____________________________________

   Date & T i m e : - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
   Witness: (printed name) ________________________________________

   EVIDENCE RECOVERED FROM OVERNIGHT DROP BOX BY:
   (printed name) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     Date & Time: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

    Witness: (printed n a m e > - - - - - - ~ - ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
   EVIDENCE PLACED EVIDENCE SAFE
    (printed nameJL.RODRIGUEZ                    ---=""'"-
                     03/08/2024      8:54 A.M.
    Date & 'rime:
                                 K. FORDE       ~ ____.,
    Witness: (printed n a m e l - - - - - ~ ~ - ~ ~ ~ • - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
   DISPOSITION:
    ( ) Hold as evidence                           Return to owner                                        Lab Analysis
    ( l Return to finder                           Destroy immediately                                    FBI
    ( ) Other
   REMARKS (condition of evidence)
   Additional A.I.C GONZALEZ, OSWALDO #07764-506.




                                                    CHAIN OF CUSTODY

                                                                                           EVIDENCE RELEASED TO;
                                                                                         FBI AGENTMATTHEWLANTHORN




   PDF                                               Prescribed by PSSlO
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Tamen, Frank (USAFLS}

From:                         Sealey, Norris (BOP)
Sent:                         Friday, March 22, 2024 11 :40 AM
To:                           Tamen, Frank (USAFLS)
Subject:                      Cell phone recovery



Mr. Tamen, the cellphone was discovered on the bottom bunk inside cell D07-018. Inmate Arencibia was the
inmate sleeping on the bottom bunk at the time per SIS tech whom seized the cellphone.




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